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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISON



 In re Dealer Management Systems Antitrust
 Litig., MDL 2817                                     MDL No. 2817
                                                      Case No. 18-cv-00864
 This Document Relates To:
                                                      Hon. Rebecca R. Pallmeyer
 THE PUTATIVE VENDOR CLASS
 ACTION



  STIPULATION AND ORDER REGARDING USE OF CERTAIN DEPOSITIONS IN
                  PUTATIVE VENDOR CLASS ACTION

       Defendant CDK Global, LLC (“CDK”) and Plaintiff Loop, LLC, d/b/a AutoLoop

(“AutoLoop”), on behalf of AutoLoop and members of the putative Vendor Class (collectively,

the “Parties”), by and through their undersigned counsel, jointly submit this Stipulation and

proposed Order regarding the use of certain depositions described below in the putative Vendor

Class case.

       WHEREAS, CDK and the putative Dealer Class agreed to the depositions of 17 Dealer

Class named plaintiffs (“Dealer Class Depositions”);

       WHEREAS, the Parties disagreed on the use of the Dealer Class Depositions in the

putative Vendor Class case, and the Vendor Class therefore filed a motion to preclude their use

in the Vendor Class case (Dkt. 1438);

       WHEREAS, on December 14, 2023 (Dkt. 1444), the Court “direct[ed] the parties to

proceed initially with just three” of the Dealer Class Depositions, confer after their completion in

an effort to resolve any remaining disputes, and then submit a joint status report by mid-January

if the Parties could not resolve their remaining disputes;



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       WHEREAS, the Parties have resolved their remaining disputes;

       IT IS HEREBY STIPULATED AND AGREED, by and between CDK and AutoLoop:

       1.      The Parties stipulate that the deposition testimony of the following four putative

Dealer Class representatives may be used for any purpose in the putative Vendor Class case,

including at trial, subject to the objections otherwise available under the Federal Rules of

Evidence:

   •        Waconia Dodge, Inc. (“Waconia Dodge”);

   •        Jim Marsh American Corporation (“Jim Marsh”);

   •        Henry Brown Buick GMC LLC d/b/a Henry Brown Buick GMC (“Henry Brown

            Buick”); and

   •        Tony Automotive Group LLC d/b/a Tony Volkswagen, Tony Hyundai, Genesis of

            Waipio, Tony Hyundai Honolulu; (2) Tony Hawaii Hilo LLC d/b/a Tony Honda Hilo;

            (3) Tony Hawaii Kona LLC d/b/a Tony Honda Kona; and (4) Tony Hawaii LLC d/b/a

            Tony Honda (collectively, “Tony Group”).

       2.      The Parties stipulate that the remainder of the Dealer Class Depositions taken

subsequent to the Court’s December 14, 2023 Minute Entry (Dkt. 1444) may not be used for any

purpose in the putative Vendor Class case, whether at class certification, at trial, or otherwise.

       3.      This stipulation applies only to the Dealer Class Depositions taken subsequent to

the Court’s December 14, 2023 Minute Entry (Dkt. 144), and does not impact the use of any other

depositions taken in this MDL.

       4.      Through the foregoing stipulation, the Parties have resolved their disagreements

regarding the use of the Dealer Class Depositions taken subsequent to the Court’s December 14,

2023 Minute Entry in the putative Vendor Class case. Having resolved this dispute, the Parties do




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not intend to submit a joint status report or otherwise seek further court intervention on this issue

before proceeding with the remaining Dealer Class Depositions, as initially contemplated in the

Court’s December 14, 2023 Minute Entry (Dkt. 1444). It is therefore stipulated and agreed that

the remaining Dealer Class Depositions will proceed without further Court intervention regarding

their use in the putative Vendor Class case.




                                                     SO ORDERED:


DATED: January 9            , 2024
                                                Hon. Rebecca R. Pallmeyer
                                                UNITED STATES DISTRICT JUDGE




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 STIPULATED AND AGREED:                Dated: January 9, 2024


/s/ Derek T. Ho                        /s/ Mark Filip, P.C.
Derek T. Ho                            Mark Filip, P.C.
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                                  CERTIFICATE OF SERVICE

         I, Mark Filip, an attorney, hereby certify that on January 9, 2024, I caused a true and correct
copy of the foregoing STIPULATION AND [PROPOSED] ORDER REGARDING USE OF
CERTAIN DEPOSITIONS IN PUTATIVE VENDOR CLASS ACTION to be filed
and served electronically via the court’s CM/ECF system. Notice of this filing will be sent by e-
mail to all parties by operation of the court’s electronic filing system or by email to anyone unable
to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may access this
filing through the court’s CM/ECF system.


                                                        /s/ Mark Filip, P.C.
                                                       Mark Filip, P.C.




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